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                     EXHIBIT 1
                                                                   Need Help Call Us at 41 5 1 61
                                                                                                    Home   Safe Sco eboa d           Safe S o ligh         Safe Bingo        D E a e Po e   Mo e P od c   Yo Ca
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                                                                                                            The O iginal B SAFE Bingo Ca d
                                                                                                            Small Ca d P icing
                                                                                                             0                000             000     0 000    Over 0 000
                                                                                                              0 0 Each           0   Off        0    Off       Please Call
                                                                                                            La ge Ca d P icing
                                                              EXHIBIT 2




                                                                                                             0                000             000     0 000    Over 0 000
                                                                                                              0    Each          0   Off        0    Off       Please Call
                                                                                                            Size
                                                                                                              Small - Credit Card Size - 2"x3.5"
                                                                                                            Color
                                                                                                              Yellow
                                                                                                             00
                                                                                                              1           Add To Ca
                                                                 Description    Additional information       Reviews 0
                                                                De c i ion
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                                                                    These safety bingo cards have been used by thousands of businesses to reduce workers compensation expenses since 1992. Our
                                                                    small card is the original “credit card size” made from brightly colored, thick card stock. Perfect size for a wallet or billfold. We
                                                                    now also offer a large regular size card measuring          X        Orders for our stock B-SAFE Bingo Cards require no minimums
                                                                    and ship the same day as ordered.
                                                                    He e a e       ea on       h o       Safe Bingo Ca d a e a be                    al e
                                                                        1. Our stock and custom safety bingo card prices are the lowest in the country, we will not be under sold!
                                                                        2. All of our cards are printed right here in the USA, no foreign printing!
                                                                        3. Order the exact number of cards you need, no need to buy “packs” of cards that may not be used.
                                                                        4. No art / set up charge for custom cards or existing card reorders, saving you 40 to 50 per order.
                                                                        5. Reordering is simple, just e-mail or call us. We keep all your order history on file.
                                                                        6. Our cards are made of thick 65 lb. cardstock and are more “tear resistant” than the competition.
                                                                        7. All individual games come in a different color at no extra charge.
                                                              Rela ed od c
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                                                                                                                                La ge C   om B SAFE Bingo Ca d
                                                                                                                                             0
                                                                                                                                          Read Mo e
                                                                                                  Ne B SAFE BINGO Combo Ca d
                                                              Small C   om B SAFE Bingo Ca d              00   –    0
                                                                        Read Mo e                        Selec O ion
                                                                                               P od c                          Con ac U                          Digi al Time In    c ion
                                                                                               Safety Scoreboards                 info safetystar.com           Download Manuals
                                                                                               Safety Bingo                    ϛ   (417) 581-6199
                                                                                               Dry Erase Posters                   5157 N 22nd St
                                                                                                                               Ǳ   Ozark, MO 65721
                                                                                               Safety Stoplights
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                     EXHIBIT 3
               Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 6 of 37
                                         EXHIBIT 4




Reg. No. 5,660,503           Safety Star (MISSOURI LIMITED LIABILITY COMPANY)
                             8206 Interlochen Dr.
Registered Jan. 22, 2019     Nixa, MISSOURI 65714

                             CLASS 28: Board games designed to promote employee safety awareness
Int. Cl.: 28
                             FIRST USE 10-31-2001; IN COMMERCE 10-31-2001
Trademark
                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register           PARTICULAR FONT STYLE, SIZE OR COLOR

                             No claim is made to the exclusive right to use the following apart from the mark as shown:
                             "BINGO"

                             SER. NO. 87-947,894, FILED 06-04-2018
                                                                                                                     Bingo Card Generator   Bingo Cards   Help   Login/Sign Up
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                                                                          Find and customi e one of the thousands of read -made bingo cards, or use the simple bingo card
                                                                          generator to create our own. Then print as man cards as ou need. You can even pla virtual bingo
                                                                          using a computer, smartphone or tablet. It's fast and eas .
                                                                                                       loteria                       Find Cards
                                                              EXHIBIT 5



                                                                                                                                            re  t e
                                                                                            Untitled Bingo                   5x5                    o r
                                                                                                                                         bing           o n
                                                                                                                                        scr to c rd fr
                                                                                B           I          N         G           O                ch       om
                                                                                                                                                   Bingo Card
drop n im ge
                                                                                                                                                   G      t
drop n im ge
o r comp ter                                                                                                                                            Generator
q re                                                                                                                                             Instructions: Enter our bingo card
                                                                                                                                                 title, choose a si e, and t pe our
                                                                                                                                                 words into the squares.
                                                                                                                                                 You can drag-and-drop images into
                                                                                                Free!                                            the squares and customi e the color
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                                                                                                                                                 scheme.
                                                                                                                                                 To generate our bingo cards, cilck
                                                                                                                                                 the "Generate" button.
                                                                                                                                                 Afterwards, ou can print our bingo
                                                                                                                                                 cards, or pla a virtual bingo game.
                                                                                                                                                 Features
                                                                                                                                                   Ne ! For question/ans er-st le
                                                                                                                                                   bingo, flip over the square to
                                                                                                                                                   enter a question/clue (which will
                                                                                                                                                   appear on the call list)
                                                                                                                                                   Drag and drop images from
                                                                The center square is the free             Shuffle items         within their         our computer to liven up our
                                                                space                                     column
                                                                                                                                                   card
                                                                                                                                                   Print 10 bingo cards or 10,000
                                                                                                                               Thin                with 1, 2 or 4 bingo cards per
                                                                                                                               Line Thickness      page
                                                                 Background              Text              Grid Lines                              Pla irtual bingo from a
                                                                                                                                                   computer, tablet or smartphone
                                                                                         E      a W d /I age
                                                                                                                                                   Use the automaticall generated
                                                                                ( he e   i be    i ed i       ca d ab     e)
                                                                                                                                                   random call list to conduct our
                                                                                                                                                   game
                                                                                                                                                   Decide if ou want to fix our
                                                                                                                                                   words/images to a single column
                                                                                                                                                   (like in traditional bingo), or
                                                                                                                                                   shuffle them across the entire
                                                                                                                                                   card.
                                                                 Add More                                                                          Customi e the si e of our card
                                                                                                                  Paste in a list of      ords     with 5x5, 4x4 and 3x3 grids
                                                                                                                                                   Add as man words/images as
                                                               Pri ac Options                                                                        ou want
                                                                                                                                                   Choose whether ou want a free
                                                                Public
                                                                                                                                                   space or not
                                                                An one can view our card. It will be indexed in search engines so
                                                                                                                                                   Calculate the probabilit of
                                                                                                                                                       Calculate the probabilit of
                                                                   other people can find and use it.
                                                                                                                                                       someone winning our bingo
                                                                   Hidden                                                                              game after a certain number of
                                                                   Onl people who know the URL can access our card, and it will not                    calls
                                                                   be indexed b search engines.
                                                                   Pri ate
                                                                   Onl ou can access the card.
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                                                                                               Generate
                                                              How do I generate bingo cards?
                                                              Enter the bingo title, select the si e of our bingo card grid, and t pe our items into the squares. Whatever items ou enter
                                                              into the squares will be shuffled around when the bingo cards are generated.
                                                              You can add numbers (like in traditional bingo), words, phrases, or pictures to our card. You can also customi e the colors
                                                              of the squares, and the bingo card itself.
                                                              Tip: You can put text and an image into a square. Use the text shadow to make the text "pop" against the background
                                                              image. You can also change the vertical alignment of the text in the square so it does not cover the important parts of the
                                                              image.
                                                              If our center square is the free space (and should not be shuffled around the card), make sure ou check the "The center
                                                              square is the free space" checkbox. Onl 5x5 and 3x3 have a free space.
                                                              B default, when our cards are generated, the items are shuffled over the e i e card. In traditional bingo, items are fixed
                                                              to a certain column (and onl shuffled within their respective column). To enable that, check the "Shuffle items onl within
                                                              their column" checkbox.
                                                              How does question/answer-st le bingo work?
                                                              When ou create our card, ou can flip over a square to enter a clue/question. Whatever ou enter on the back of our
                                                              square will appear in the call list for our bingo game. For example, to help kids learn animal words, ou might put the word
                                                              "Bear" on the front of the square, and a picture of the bear on the back. When ou pla the game, the image of the bear
                                                              will appear in the call list for our students to see. If the recogni e the literal word "Bear" on their card, the would mark it.
                                                              You can use question/answer-st le bingo to qui pla ers about an thing!
                                                              How man bingo cards can I generate?
                                                              A 5x5 bingo card can generate 15511210043330985984000000 unique cards. A 3x3 bingo card can produce onl 362880
                                                              bingo cards. Cards are randoml generated, so the probabilit of getting a duplicate is infinitesimal on a 5x5 card.
                                                               How do I print bingo cards?
                                                               After generating bingo cards or finding an existing bingo card, enter the number of cards ou want to print, and select how
                                                               man cards ou want to print per page. You can print 1, 2 or 4 cards per page. Make sure ou switch to landscape print
                                                               mode on our printer to print 2 cards per page.
                                                               How do I pla virtual bingo?
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                                                               To pla a virtual bingo game, simpl send our pla ers the bingo card URL. The can generate a virtual bingo card
                                                               instantl . Here are more detailed instructions to pla virtual bingo.
                                                               How do I call items?
                                                               A call sheet is included with our bingo game. Simpl read the items off in the order ou see them. You can also print the
                                                               call sheet, cut it out, and pull the items from a hat.
                                                               How man items should I put on m bingo card?
                                                               You should at least fill the entire bingo card grid. A traditional number bingo card has 75 items. You can add up to 350
                                                               squares to our card.
                                                               I need more help
                                                               See the help page. But I strongl recommend ou just pla around. It's bingo. You won't break an thing.
                                                                                                Bingo Card Generator Bingo Cards Help Legal Login/Sign Up
                                                                                PDFm URL.com - convert URLs,   eb pages or even full   ebsites to PDF online. Eas API for developers!
                                                                                                                                 B      C      G        B           C           H               L       /
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                                                                                                         B AFE                                              P           B                   C
                                                                                         C   P      P     O        C    L                                   P           8                   ,       1
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                                                                              re
                                                                                                                                                                I
                                                                                                                                                                        P               D
                                                               EXHIBIT 6




                                                                                                                                                            P           O
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                                                                                                                                                            F                                       ,
                                                                                                                                                                                    .
                                                                                                                                                            L                                                   .
                                                                                                                                                            C           L
                                                                                                                                                                                61
                                                                                                                                                                        F                       P
                                                                                                                   24        : 2, 15, 30, 45, 70, 14,
                                                                           18, 35, 52, 65, 3, 20, 48, 61, 8, 16, 40, 55, 75, 12, 25, 45, 61      73.
                                                                                                                                                            P
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                                   EXHIBIT 7
 Envision IP, LLC                                              350 5th Avenue, 59th Floor
 Intellectual Property Law Firm                                New York, NY 10118
                                                               Ph.: 888-207-5560
                                                               Fax: 646-200-5227

VIA USPS CERTIFIED MAIL AND EMAIL

March 23, 2020

Matt Johnson
support@bingobaker.com

Re: Infringement of U.S. Trademark Registration Nos. 2,682,647, 3,032329 & 5,660,503

Mr. Johnson:

        Please be advised that this firm represents Safe S a LLC ( Safe S a ) with
respect to trademark-related matters. Safety Star is a leading provider of safety awareness
programs and products for employers and workplaces.

        Safety Star is the owner of U.S. Trademark Registration No. 2,682,647 for
SAFETY STAR f in c i n hee and                  e de igned      m e afe n he j b ,
U.S. Trademark Registration No. 3,032,329 for B-SAFE f       bing -type game cards for
  e in      m ing afe , and U.S. Trademark Registration No. 5,660,503 for BSAFE
BINGO f        board games designed to promote employee safety awarenes (c llec i el ,
the Safety Star T adema k ). A true and correct copy of these trademark registration
certificates are attached for your review as Appendix A.

        Safety Star has marketed and sold safety bingo products under the BSAFE and B-
SAFE trademarks since at least 1992, and under the SAFETY STAR trademark since at
least 2001. For example, attached as Appendix B is a copy of m Clien BSAFE safety
bingo card.

       It has come to our attention that you are illegally using the Safety Star Trademarks
on downloadable and printable safety bingo cards. See Appendices C & D. Your website
at <bingobaker.com> a e , am ng he hing , Find and customize one of the thousands
of ready-made bingo cards, or create your own. Then print as many cards as you need.
See Appendix E.
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Infringement of U.S. Trademark Registration Nos. 2,682,647, 3,032329 & 5,660,503
Matt Johnson

        Customers, potential customers, and parties involved in the occupational and
workplace safety industry are being misled into believing that your products and games
bearing the Safety Star Trademarks are affiliated with, owned by, or approved by Safety
Star. We thus consider your unauthorized uses of the Safety Star Trademarks to be an
infringement of our rights.

        Accordingly, we demand that that you immediately:

        (1)     Cease use of the trademarks BSAFE, B-SAFE, and SAFETY STAR on all
                products and games that you offer, whether digitally or in print;

        (3)     Remove any branding, advertisements, or mentions of the trademarks
                BSAFE, B-SAFE, and SAFETY STAR from all business locations and
                any other physical locations where your products may be sold or
                advertised (such as distributors, re-sellers, and retail outlets);

        (4)     Remove any branding, advertisements, or mentions of the trademarks
                BSAFE, B-SAFE, and SAFETY STAR from all online accounts, such as
                websites, blogs, social media handles, or otherwise, where your products
                may be sold or advertised;

        (5)     Agree in writing to refrain from using the trademarks BSAFE, B-SAFE,
                and SAFETY STAR, or any mark or logo confusingly similar to any of
                m Clien       adema k , in the future, in any form, either digitally or in
                print; and

        (6)     Prevent visitors of <bingobaker.com> from generating, printing, or
                otherwise creating any bingo cards bearing any of the trademarks BSAFE,
                B-SAFE, and SAFETY STAR.




Confidential.                                     2
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Infringement of U.S. Trademark Registration Nos. 2,682,647, 3,032329 & 5,660,503
Matt Johnson

        My Client is prepared to pursue all available legal remedies to protect and enforce
its trademark rights under applicable state and federal laws. If I do not hear from you
within ten (10) days of this letter to indicate compliance with the above requests, we shall
assume that you have no interest in an amicable resolution. We will then have no choice
but to pursue our legal remedies.

       Nothing stated in or omitted from this letter shall be construed as a waiver of any
of Safe S a     igh , all f hich a e e e l e e ed.

                                                  Very truly yours,




                                                  Maulin V. Shah, Esq.
                                                  Attorney at Law

Enclosures




Confidential.                                     3
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                     APPENDIX A
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Reg. No. 5,660,503         Safety Star (MISSOURI LIMITED LIABILITY COMPANY)
                           8206 Interlochen Dr.
Registered Jan. 22, 2019   Nixa, MISSOURI 65714

                           CLASS 28: Board games designed to promote employee safety awareness
Int. Cl.: 28
                           FIRST USE 10-31-2001; IN COMMERCE 10-31-2001
Trademark
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register         PARTICULAR FONT STYLE, SIZE OR COLOR

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "BINGO"

                           SER. NO. 87-947,894, FILED 06-04-2018
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                      APPENDIX B
                             +RPH_/RJLQ6LJQ8S_6HDUFKIRU%LQJR&DUGV_+HOS




    %6$)(6DIHW\%,1*2                   3ULQW%LQJR&DUGV
                                         3ULQW      FDUGVSHUSDJH
%     6     $     )      (               3ULQW         SDJHV
                                            6KRZELQJRWLWOH
                                            ,QFOXGHZRUGOLVW
                                                            3ULQW
                                                    RSHQVDVD3')LQDQHZZLQGRZ



                                         3OD\2QOLQH
                                         <RXFDQJHWDIXOOVFUHHQELQJRFDUGKHUH
                                         ELQJREDNHUFRPSOD\


                                         &DOO/LVW
                                         +HUHLVDFDOOOLVW\RXFDQXVH
          )UHH
                                                                                      APPENDIX C




                                         &ORQH (GLW
                                         <RXFDQFORQHWKLVELQJRJDPHDQGHGLW
                                         WKHFORQH
                                         :DQWWRGRWKDW"

                                         3UREDELOLWLHV
                                         :LWK      SOD\HUV\RX OOKDYHWRFDOO
                                         DERXWLWHPVEHIRUHVRPHRQHJHWVD
                                         ELQJR7KHUH VDFKDQFHWKDWDOXFN\
                                                                                                   Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 20 of 37




                                         SOD\HUZRXOGZLQDIWHUFDOOLQJLWHPV
                                         7LS,I\RXZDQW\RXUJDPHWRODVWORQJHU
                                          RQDYHUDJH DGGPRUHZRUGVLPDJHVWR
                                         LW
                                                   +RPH_/RJLQ6LJQ8S_6HDUFKIRU%LQJR&DUGV_+HOS




             6DIHW\6WDU%,1*2                                 3ULQW%LQJR&DUGV
                                                               3ULQW      FDUGVSHUSDJH
    6          $        )         7           <                3ULQW         SDJHV
                                                                  6KRZELQJRWLWOH
                                                                  ,QFOXGHZRUGOLVW
3LQFK                                        )LUVW                                3ULQW
                                           5HVSRQGHU
       ( )UXVWUDWLRQ 6'6
3RLQW =RQH                                                                RSHQVDVD3')LQDQHZZLQGRZ



                                                               3OD\2QOLQH
                                                               <RXFDQJHWDIXOOVFUHHQELQJRFDUGKHUH
,QVSHFWLRQ
              7ULS /DGGHU 6SRWWHU +DQG
             +D]DUG 6DIHW\                                     ELQJREDNHUFRPSOD\
                                  6DIHW\
                                                               &DOO/LVW
%OLW] 6DIHW\                     6DIHW\     (DU                +HUHLVDFDOOOLVW\RXFDQXVH
                               $ZDUHQHVV
                                                                                                            APPENDIX D




$XGLW &RQH                                 3OXJV               &ORQH (GLW
                                                               <RXFDQFORQHWKLVELQJRJDPHDQGHGLW
                                                               WKHFORQH
3QHXPDWLF &RGH (OHFWULFDO 3HGHVWULDQ
          ,QFOHPHQW
                                            /RRVH              :DQWWRGRWKDW"
  /272              3DQHO     :DONZD\V     &ORWKLQJ
             :HDWKHU
                                                               3UREDELOLWLHV
                                                               :LWK      SOD\HUV\RX OOKDYHWRFDOO
                                                               DERXWLWHPVEHIRUHVRPHRQHJHWVD
                                                               ELQJR7KHUH VDFKDQFHWKDWDOXFN\
/DGGHU 0DFKLQH +HDULQJ 5HFRUGDEOH &RGH3ODQW
                                   (YDFXDWLRQ
                                                                                                                     Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 21 of 37




6DIHW\ *XDUG 3URWHFWLRQ                                        SOD\HUZRXOGZLQDIWHUFDOOLQJLWHPV
                                                               7LS,I\RXZDQW\RXUJDPHWRODVWORQJHU
                                                                RQDYHUDJH DGGPRUHZRUGVLPDJHVWR
                                                               LW
7KLVELQJRFDUGKDVWKHZRUGV7DNH1HDU0LVV2),)LUVW$LG(=RQH6DIHW\
6FRUHFDUG=LS$XGLW/272,QVSHFWLRQ(PHUJHQF\(YDFXDWLRQ)DWLJXH6OLS
7ULS)DOO6KDUSH(GJHV5HSHWLWLYH0RWLRQ*RJJOHV%OLW]$XGLW/RRVH&ORWKLQJ
6+DQG6DIHW\&HOO3KRQH3ROLF\/DGGHU6DIHW\+DQG6DIHW\&RDVW7LPH
0DFKLQH*XDUG5HG&DUG5HFRUGDEOH3URSHU/LIWLQJ33(3RZHU7RRO6DIHW\
3QHXPDWLF/2723LQFK3RLQW3HGHVWULDQ:DONZD\V3HGHVWULDQ6DIHW\
3HGHVWULDQ6DIHW\6KDUS(GJHV6HFRQGDU\/2726HDWEHOW6'66DIHW\
6FRUHFDUG6DIHW\0HQWRU6DIHW\*ODVVHV6DIHW\&RQH6DIHW\$ZDUHQHVV
5HSHWLWLYH0RWLRQ/RRVH&ORWKLQJ/HDQLQJ,WHPV/DGGHU6DIHW\-6$
,QVSHFWLRQ+RLVW,QVSHFWLRQ+HDULQJ3URWHFWLRQ+DQG6DIHW\*UDYLWDWLRQDO
/272*RJJOHV*ORYHV*DV/272)UXVWUDWLRQ)RUNOLIW7UDYHO)RUNOLIW+RW
=RQH&RGH,QFLSLHQW)LUHRU6SLOO&RGH3ODQW(YDFXDWLRQ&RDVW7LPH
&KHPLFDO/DEHOLQJ&HOO3KRQH3ROLF\%XPS+D]DUG%ORRG%RUQH3DWKRJHQV
%ORFNHG([LW%OLW]$XGLW%OLQG6SRW$SSOLHG)RUFH$LU+RVH(OHFWULFDO/272
(DU3OXJV(=RQH'XVW0DVN'70V&RQILQHG6SDFH&RPSODFHQF\&RGH
,QFOHPHQW:HDWKHU&RGH)LUVW5HVSRQGHU)RUNOLIW)LUVW5HVSRQGHU)LUVW$LG
)LUVW$LG)LUH([WLQJXLVKHU)DWLJXH)DOO3URWHFWLRQ2),1R6WDJH=RQH1R
-HZHOU\1HDU0LVV0RYLQJ3DUWV0DFKLQH*XDUG/2727U\/272=,3$XGLW
7ULS+D]DUG7HDP:RUN7HDP/LIW7DNH6WRS=RQH6SRWWHU6SLOO.LW(\H
:DVK(UJRQRPLFV(PHUJHQF\(YDFXDWLRQ(OHFWULFDO6DIHW\(OHFWULFDO3DQHOV
(OHFWULFDO3DQHO
0RUHOLNHWKLV
3(5,2'6$)(7<%,1*2_6DIHW\6WDU%,1*2_6DIHW\6WDU%,1*2_
3HULRG6DIHW\6WDU%,1*2_6DIHW\6WDU%,1*2
                                                                                                                       Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 22 of 37




                3')P\85/FRPFRQYHUW85/VZHESDJHVRUHYHQIXOOZHEVLWHVWR3')RQOLQH(DV\$3,IRUGHYHORSHUV
                                                                                 +RPH_/RJLQ6LJQ8S_6HDUFKIRU%LQJR&DUGV_+HOS




                    )LQGDQGFXVWRPL]HRQHRIWKHWKRXVDQGVRIUHDG\PDGHELQJRFDUGVRUFUHDWH\RXURZQ7KHQSULQWDV
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                    HDV\

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Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 24 of 37




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                                                                                                 BSAFE                                             BSAFE
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                                                               EXHIBIT 8
                                                                              BSAFE                                   BSAFE
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                                                                              BSAFE                               BSAFE BINGO
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Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 26 of 37




                                                                          BSafe B                                 BSAFE BINGO
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                                                                           B g Ca d > T e:"B-Safe" B g Ca d
                                                                            e:"b- afe"                                                                      C ea   Sea c   T
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                                                               EXHIBIT 9




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                                                               EXHIBIT 10
                                                                          BSAFE BINGO                                                      PR BSAFE BINGO
                                                               34   d / 0 i age / C ea ed 2022-08-19                            89     d / 0 i age / C ea ed 2020-04-21
Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 31 of 37




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3/29/23, 4:37 PM
                                                      EXHIBIT 11
                                  Case 2:23-cv-01399 Document BSAFE
                                                              1-1 Bingo
                                                                    Filed- Google
                                                                            09/08/23
                                                                                  Search Page 32 of 37

                                BSAFE Bingo


         Images              Shopping              News           Videos        Maps        Books         Flights   Finance   All filters     T



    About 158,000 results (0.41 seconds)

           Safety Star
           https://safetystar.com › safety-bingo

    B-Safe Safety Bingo - Kits, Cards and Supplies
    Join thousands of organizations using our B-SAFE safety bingo program to improve
    employee safety awareness and reduce workers compensation expenses.
                 Rating: 4.5 · ‎2 votes


           Amazon.com
           https://www.amazon.com › B-Safe-Bingo-Safety-Prog...

    B-Safe Safety Bingo Program : Toys & Games
    The BSAFE Bingo's focal point is our heavy duty, easy to mount Game Poster. Our new
    technology Easy Wipe lamination allows you to effortlessly wipe off daily ...
    Manufacturer: ‎Safety Star                         Age Range (Description): Adult
    Included Components: Cards
                 Rating: 4 · ‎5 reviews · ‎$299.00 · ‎30-day returns


           Safety Bingo
           https://www.safetybingo.com

    Safety Bingo: Home
    Behavioral-based safety awareness programs for every workplace! Workplace safety just got a
    lot more fun! ... Join the Safety Bingo family!
    Shop · ‎About · ‎Contact




    People also ask
    How do you play workplace safety bingo?

    How do you play double action bingo?

    How do you play the board game bingo?

    How do you play bingo for money?
                                                                                                     Feedback




           Bingo Baker
           https://bingobaker.com › view

    BSAFE BINGO Card
    BSAFE BINGO bingo card with deductible, umbrella, underwriting, claim, insured,
    shared risk, Liability coverage, premium, Captive agent and Pru.

       https://bingobaker.com › view

       B SAFE Bingo Card
       B SAFE bingo card with Personal Protective Equipment, Hand Safety, Hearing Safety,
       Wet Floor Danger, Glass Safety, Ergonomics, Safe Quality Foods, ...


           LinkedIn
           https://www.linkedin.com › posts

    Daniel Batty's Post
    We started BSafe Bingo now for one month. This keeps our staff engaged along with daily safety
    tips. Building a safety conscience company!




https://www.google.com/search?q=BSAFE+Bingo&rlz=1C5CHFA_enUS917US917&ei=GKEkZM-wC8qe5NoPtsiV4AU&ved=0ahUKEwjPnO3Y_oH-AhVKD1kF…              1/2
BSAFE Bingo - Google Search
                                                                                      EXHIBIT 12
                                       Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 33 of 37                                                                                        3/29/23, 4:42 PM




                               BSAFE Bingo                                                                                                                                                          Sign in



                                 All            Images           Shopping               News           Videos            More                   Tools                                        SafeSearch




            bingo program                     bingo game                   paul mueller                    safe worker           safe safety bingo card                   bingo cage




     Amazon.c… · In stock            Safety Star · In stock        Safety Star                    Amazon.c… · In stock             Amazon.c… · In stock          Amazon.com                          Bingo Baker
   B-Safe Safety Bingo Car…      The "Original" B-SAFE B…       The "Original" B-SAFE B…        B-Safe Safety Bingo Car…        B-Safe Safety Bingo Car…      B-Safe Safety Bingo Program ...    BSAFE Bingo Card




     Amazon.co… · In stock           Safety Star · In stock                           Amazon.co… · In stock         Safety Bingo                                              Facebook                     Safety Star
   B-Safe Safety Bingo Car…      B-SAFE Safety Bingo Program ...                 B-Safe Safety Bingo Car…        BW 3x4 SAFETY BINGO Cards (Pack of 250)                   Happy Tuesday! Our BS…       B-Safe Safety B




     Amazon.com · In stock                     Facebook                                                    Bingo Baker                        Bingo Baker                         Facebook
   B-Safe Safety Bingo Cards - Pack …       Paul Mueller Company Employees ...                        B SAFE Bingo Card                    BSAFE BINGO Card                    Paul Mueller Company Employees - Today




     Amazon.com                                  Shutterstock                                Bingo Baker                     Safety Star                     Amazon.com                                    Facebook
   B-Safe Safety Bingo Program ...            Safety Bingo Card Bingo Ball Selecte…       BSAFE Bingo Card                 The "Original" B-SAFE B…        B-Safe Safety Bingo Cage Set                 SafetyStar




https://www.google.com/search?q=BSAFE+Bingo&client=safari&rls…ouqRgIL-AhVMMVkFHd5SBBUQ_AUoAXoECAIQAw&biw=1440&bih=797&dpr=2                                                                         Page 1 of 3
3/29/23, 4:47 PM              Case 2:23-cv-01399 Document 1-1
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                                                                 Baker Search Tips Page 34 of 37

                                                     EXHIBIT 13
     Search Tips
     By default, BingoBaker will search the title, and words/clues for anything matching your query. Searches
     are case insensitive. But BingoBaker also has some advanced search operators you can use for better
     searching.


         Quick Examples
          +title:animals +created:[2020-10-01 TO 2020-10-31]
         Find bingo cards with "animals" in the title, that were created during October, 2020

          corpus:"milton friedman" -economics
         Find bingo cards with a word or clue containing the exact phrase "milton friedman", but nothing in the
         BingoBaker mentions "economics".

          corpus:(milton friedman) +created:[2020-01-01 TO *]
         Find bingo cards with "milton" or "friedman" in any word/clue (with a preference for bingo cards
         containing both terms) that were created after the beginning of 2020.

          "milton friedman"
         Find bingo cards containing the exact phrase "Milton Friedman".

          milton friedman +items:[50 TO *]
         Find bingo cards containing the words milton or friedman (with a preference for bingo cards
         containing both terms) that have 50 or more words/images.


     Should, Must and Must Not
     You are probably used to using boolean operators like AND, OR and NOT for doing searches. BingoBaker
     uses different operators + (MUST) and - (MUST NOT). A space is implicit for the SHOULD operator.

     Examples
     sin cos tan
     At least one of those terms must be in the card, with a preference for bingo cards that include more matching
     terms. These terms are implicitly joined with a space (which is the SHOULD operator).

     Milton +Friedman
     The term "Friedman" must be in the card somewhere, with a preference for bingo cards that mention
     "Milton" too.

     Economics economy -Friedman
     Find bingo cards that mention economics or economy that don't mention "Friedman" at all.

     You can also use parentheses for grouping.

     Economics economy -(Friedman Hayek)
     Find bingo cards that mention economics or economy that don't mention "Friedman" nor "Hayek" at all.

     Field Specific Searches (title, corpus, created, images, words, items, clues)
https://bingobaker.com/tips                                                                                          1/2
3/29/23, 4:47 PM     Case 2:23-cv-01399 Document 1-1          BingoFiled  09/08/23
                                                                   Baker Search Tips Page 35 of 37
     title:(american history) searches for bingo cards that have "american" or "history" in the title. The
     parentheses are required if you enter multiple words. Without parentheses, title:american history
     would find bingo cards with "american" in the title, or "history" anywhere within the card.

      corpus:"como se llama" finds bingo cards with that exact phrase in any of the words/clues (the corpus
     field encompasses every word/clue).

     created:[2020-10-31 TO *] finds bingo cards created on or after Halloween 2020.

     created:{2020-10-31 TO 2020-12-31] finds bingo cards created after Halloween 2020, but before the
     new year (use {} for exclusive ranges, and [] for inclusive ranges).

     words:[50 TO 100] finds bingo cards with 50 to 100 words (inclusive).

     images:[5 TO *] finds bingo cards with 5 or more images.

     items:[75 TO *] finds bingo cards with 75 or more words or images.

     clues:[25 TO *] finds bingo cards with 25 or more clues.

     Note: The free space does not count towards the words/images/items/clues count.




https://bingobaker.com/tips                                                                                   2/2
                              Case 2:23-cv-01399 Document 1-1 Filed 09/08/23 Page 36 of 37
EXHIBIT 14                                          Bingo Card Generator Bingo Cards Help                     Login/Sign Up




         Login                                                          Join Bingo Baker!
                                                                        A lifetime membership to Bingo Baker is just
         Username or Email:
                                                                        $24.95. Benefits include:
                                                                        ✓ Totally UNLIMITED Usage
         Password:                                                      Create and use as many cards as you want. Print
                                                                        as many cards as you want, upload as many
                                                                        images as you want, and play with as many people
                                                                        as you want!
             Login                     Trouble logging in?              ✓ Privacy Control
                                                                        Make your games private and hide them from
                                                                        search engines.
                                                                        ✓ A Custom Online Bingo Experience
                                                                        Change the play online instructions/text; collect the
                                                                        name, email, or other identifier from online players;
                                                                        customize the bingo dauber. No BingoBaker
                                                                        branding on any page!
                                                                        ✓ Real-time Bingo Dashboard
                                                                        See every player's card in real-time. Quickly verify
                                                                        a bingo. Invite players via email directly from Bingo
                                                                        Baker. Clear, scramble and delete cards easily.
                                                                         and more!

                                                                                              Sign Up!


                                     Bingo Card Generator Bingo Cards Help Legal Login/Sign Up
  EXHIBIT         15
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                                                          web.archive.org/web/20150323191934/https://bingobaker.com/account/login/
The Wayback Machine - https://web.archive.org/web/20150323191934/https://bingobaker.com/account/login/
                                                                                             Home | Login/Sign Up | Search for Bingo Cards | About




    Login
    Username:                                                                           Become a Bingo Baker Member
                                                                                        It's $9.95 for a lifetime membership. Member benefits
    Password:                                                                           include:

                                                                                            A fancy bingo card manager
     Login                                                                                  Full printing capabilities (more than 8 cards)
    If you forget your password, you can reset it                                           Editing privileges
                                                                                            A public list of all your bingo cards
                                                                                            (ex: bingobaker.com/1)

                                                                                          Sign Up!




https://web.archive.org/web/20150323191934/https://bingobaker.com/account/login/                                                                     1/1
